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 5
     Attorney for Defendant
     JOSEPH CUARON
 6

 7
                         IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                               EASTERN DISTRICT OF CALIFORNIA
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10
     UNITED STATES OF AMERICA,                  )       No. 2:20-cr-00112 JAM
                                                )
11
                                                )       STIPULATION AND ORDER
            Plaintiff,                          )       FOR CONTINUANCE OF STATUS
12
                                                )       CONFERENCE
     v.                                         )
13
                                                )
     JOSHUA CABANILLAS, et. al,                 )
14
                                                )
                                                )
15          Defendants.                         )
                                                )
16
                                                )
                                                )
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18
                                         STIPULATION
19          Plaintiff, United States of America, by and through its counsel, Assistant United
20
     States Attorney Vincenza Rabenn; Defendant Gregory Tabarez, by and through his
21
     counsel, Jennifer Mouzis; Defendant Severo Reyna, by and through his counsel, Eduardo
22

23   Garnica; and Defendant Joseph Cuaron, by and through his counsel, David Fischer
24
     (hereinafter “defense”) agree and stipulate to vacate the date set for status conference,
25
     January 8, 2021, at 9:30 a.m., in the above-captioned matter, and to continue the status
26

27   conference to March 2, 2021, at 9:30 a.m. in the courtroom of the Honorable John A.
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     Mendez.


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 1
            By previous order, this case was set for status conference on January 12, 2021.

 2   Defense counsel requests a continuance in order to further prepare, confer with their
 3
     respective clients, review the discovery, and otherwise prepare for trial or resolution of
 4
     this case. The Government does not object to this continuance. Based upon the foregoing,
 5

 6   the parties stipulate that that the ends of justice served by granting the continuance
 7
     outweighs the best interest of the public and the defendants in a speedy trial. The parties
 8
     also agree and stipulate that time under the Speedy Trial Act should be excluded as of
 9

10   January 12, 2021, through and including March 2, 2021; pursuant to 18 U.S. §3161
11
     (h)(7)(A) and (B)(iv)[reasonable time to prepare] and General Order 479 [Local Code
12
     T4]. Accordingly, the parties respectfully request the Court adopt this proposed
13

14   stipulation
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18   IT IS SO STIPULATED.

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20
     Dated: January 8, 2021                   McGREGOR W. SCOTT
                                              United States Attorney
21

22
                                              By: /s/ Vincenza Rabenn
                                              VINCENZA RABENN
23                                            Assistant United States Attorney
24
     Dated: January 8, 2021                   /s/ Jennifer Mouzis
25                                            JENNIFER MOUZIS
                                              Attorney for Defendant
26
                                              GREGORY TABAREZ
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                                                 2
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 1
     Dated: January 8, 2021             /s/ Eduardo Garnica
                                        EDUARDO GARNICA
 2                                      Attorney for Defendant
                                        SERVERO REYNA
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 4   Dated: January 8, 20201            /s/ David Fischer
                                        DAVID FISCHER
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                                        Attorney for Defendant
 6                                      JOSEPH CUARON
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              Case 2:20-cr-00112-JAM Document 43 Filed 01/11/21 Page 4 of 4


                                               ORDER
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            IT IS HEREBY ORDERED, the Court having received, read, and considered the
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     parties’ stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in
 3
     its entirety as its order. The Court specifically finds the failure to grant a continuance in
 4
     this case would deny counsel reasonable time necessary for effective preparation,
 5
     considering the exercise of due diligence. The Court finds the ends of justice are served
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     by granting the requested continuance and outweigh the best interest of the public and
 7
     defendants in a speedy trial. The Court orders from the time of the parties’ stipulation,
 8
     January 8, 2021, up to and including March 2, 2021, shall be excluded from computation
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     of time within which the trial of this case must be commenced under the Speedy Trial
10
     Act, pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv) [reasonable time for counsel to
11
     prepare] and General Order 479 [Local Code T4]. It is further ordered the January 12,
12
     2021 status conference shall be continued until March 2, 2021, at 9:30 a.m.
13

14
     IT IS SO FOUND AND ORDERED this 8th day of January, 2021.
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16
                                                /s/ John A. Mendez
17                                              THE HONORABLE JOHN A. MENDEZ
                                                UNITED STATES DISTRICT COURT JUDGE
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